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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND


SECURITIES AND EXCHANGE
COMMISSION,

                           Plaintiff,       Case No. 1:18-cv-02844-RDB

v.

KEVIN B. MERRILL, et al.,

                           Defendants



 RECEIVER GREGORY S. MILLIGAN’S FOURTH QUARTERLY STATUS REPORT
     FOR THE PERIOD BETWEEN JULY 1, 2019 AND SEPTEMBER 30, 2019


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         Receiver Gregory S. Milligan, of the firm Harney Management Partners, LLC (the

“Receiver”), respectfully submits this Fourth Quarterly Status Report for the Period Between

July 1, 2019 and September 30, 2019 (the “Report”) in accordance with the First Amended Order

Appointing Temporary Receiver dated November 27, 2018 (Dkt. No. 62) (the “Receivership

Order”), 1 and would respectfully show the Court as follows:

                                  I.      INTRODUCTION

         On September 13, 2018, the Securities and Exchange Commission (“SEC”) filed a

Complaint (“SEC Action”) that initiated this action against the Defendants alleging various

securities violations arising from the Defendants’ operation of a Ponzi scheme. 2 A more detailed

description of the case background is included with the Receiver’s First Quarterly Status Report

for the Period Between September 13, 2018 and December 31, 2018 (Dkt. No. 99) (the “First

Report”), 3 the Receiver’s Second Quarterly Status Report for the Period Between January 1,

2019 and March 31, 2019 (Dkt. No. 138) (the “Second Report”), 4 and the Receiver’s Third

Quarterly Status Report for the Period Between April 1, 2019 and June 30, 2019 (Dkt. No. 177)




1
  A copy of the Receivership Order can be found on the Receiver’s website for this SEC Action
at: https://merrill-ledford.com/wp-content/uploads/2019/01/First-Amended-Order-Appointing-
Receiver-11.27.18.pdf.
2
  Capitalized terms herein shall have the meaning as used in the Receivership Order unless
otherwise noted.
3
  A copy of the First Report can be found on the Receiver’s website for this SEC Action at:
https://merrill-ledford.com/wp-content/uploads/2019/05/2019-01-30-99-Status-Report.pdf.
4
  A copy of the Second Report can be found on the Receiver’s website for this SEC Action at:
https://merrill-ledford.com/wp-content/uploads/2019/05/4827-0821-0325.1-Dkt.-138-Receivers-
Second-Quarterly-Status-Report-for-Period-1.1.19-and-3.31.19.pdf.

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(the “Third Report”) 5 (the First Report, Second Report, and Third Report are collectively, the

“Prior Reports”), which are incorporated herein by reference.

         Pursuant to the Receivership Order, this Report provides information regarding the assets

and liabilities of the Receivership Estate, a summary of the Receiver’s activities for the period

between July 1, 2019 and September 30, 2019 (the “Applicable Period”), and information

regarding claims held by and against the Receivership Estate.              A summary of all of the

Receiver’s       receipts   and   disbursements   for   the   Applicable    Period   is   being   filed

contemporaneously with this Report and is incorporated herein by reference.

                      II.   OVERVIEW OF THE RECEIVER’S ACTIVITIES

         During the Applicable Period, the Receiver, in coordination with the federal authorities,

has continued to control, or taken steps to assume control of, the Receivership Assets with the

objective of preserving the Receivership Assets to maximize the recovery for the Receivership

Estate. As detailed herein, the Receiver has continued the efforts outlined in the Prior Reports,

as well as addressing numerous new issues that have arisen since the applicable periods in the

Prior Reports. By way of illustration, the Receiver and his counsel routinely maintain a list of 75

to 100 ongoing issues requiring action by the Receiver or his counsel in order to effectively and

efficiently investigate, preserve, manage, and administer Receivership Assets and non-individual

Receivership Parties.

         During the Applicable Period, the Receiver and his counsel completed the sale of

numerous Receivership Assets (including real property, vehicles, and a boat) generating net sale

proceeds exceeding $10.9 million.6


5
  A copy of the Third Report can be found on the Receiver’s website for this SEC Action at:
https://merrill-ledford.com/wp-content/uploads/2019/07/Receivers-Third-Quarterly-Report-
April-1-to-June-30885.pdf.

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         During the Applicable Period, the Receiver has continued to maintain and update the

Receivership Estate website, located at www.Merrill-Ledford.com, with relevant and required

information regarding asset sales and other matters related to the case. Specific links to relevant

documents are included herein for convenience.

A.       Summary of Assets

         The Receiver continues the process of assuming control and management of all property

of the Receivership Estate during the Applicable Period.

         1.        Cash

         As of September 30, 2019, the Receivership Estate had approximately $23.0 million of

cash on hand in Receivership Estate bank accounts under the sole control of the Receiver. The

amount of cash on hand has increased by $9.5 million during the Applicable Period due to both

sales of Receivership Assets and the continued operation of the businesses of the non-individual

Receivership Parties, as discussed in more detail below.

         2.        Business Operations

         The Receivership Estate includes three ongoing business operations in Texas: (i) DeVille

Asset Management Ltd. (“DeVille”); (ii) Riverwalk Credit Solutions, Inc. (“Riverwalk Credit”);

and (iii) Riverwalk Debt Solutions, Inc. (“Riverwalk Debt”). The Receiver continues to operate

these businesses and investigate the proper means to monetize their value for the benefit of the

Receivership Estate.       In furtherance of its investigation, the Receiver sought and received

approval from the Court to employ Velocity Portfolio Group, Inc. (“Velocity”) (Dkt. Nos. 105



6
  The total net sale proceeds include the net sale proceeds of $802,855 for the real property
located at 27776 Sharp Road, Easton, MD 21601 (the “Sharp Road Property”). The motion to
sell the Sharp Road Property was filed on August 22, 2019, and the order approving the sale was
entered on August 26, 2019, both of which were in the Applicable Period. However, the closing
of the sale did not occur until after the Applicable Period on October 9, 2019.

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and 106) to assist the Receiver in valuing DeVille’s operations and consumer debt portfolios

(“DeVille Assets”).

         3.        Real Property

         The Receivership Estate also contains a number of residential and commercial real

properties that have been secured by the Receiver, as discussed in greater detail below.

         4.        Other Property

         Additionally, there were several personal property items that the Receiver has recovered

or identified to date, including:

         •    Other Property. As provided in the Prior Reports, the Receivership Estate includes
              several investments made by the Defendants including, but not limited to: (i) prepaid
              hours on a Gulfstream Aircraft G200; (ii) an art collection; (iii) a watch collection;
              (iv) a comic book collection; (v) jewelry; (vi) a litigation financing arrangement; (vii)
              an equity investment in an alternative investment management company and (viii) a
              whole life insurance policy.

              During the Applicable Period, the Receiver has further identified additional potential
              Receivership Assets, which are detailed below.

              Some of the foregoing assets are of unknown value. The Receiver has determined the
              best means of monetizing some of the aforementioned investments and is in the
              process of determining the best means to monetize the remaining investments for the
              benefit of the Receivership Estate.

         •    Clawbacks. The Receivership may hold claims (“Clawbacks”) against individuals
              and entities, in addition to the Relief Defendants, that received gifts, donations, or
              fraudulent transfers from the Receivership Parties. These individuals and entities
              may have received funds from the Receivership Parties derived from Ponzi scheme
              funds fraudulently obtained from investors. If and when the Court authorizes the
              Receiver to pursue such actions, the Receiver will investigate these claims and, where
              appropriate, make demand for full repayment of the gift, donation, or fraudulent
              transfer and file suit against the recipients of such transfers, if necessary.

         •    Clawbacks – Investors who are “Net Winners.” The Receiver may hold claims
              against investors who withdrew fictitious profits from the Receivership Parties. An
              investor’s withdrawn profits may be fictitious, for example, if that party received
              payments in excess of investments.




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         •    Claims against Other Persons or Entities. The Receiver has started to investigate,
              analyze, and collect evidence regarding potential causes of action against other third
              parties. The more immediate need has been to secure and determine the best means
              for monetizing the tangible Receivership Assets, but the Receiver’s investigation into
              this category of assets has flowed from the administration of other identified
              Receivership Assets.

         Based upon current available information, which is preliminary and subject to further due

diligence, the Receiver team estimates total recoveries from Receivership Assets could range

between $40 million and $65 million.7          Future quarterly reports will have the benefit of

additional recoveries, market data regarding assets yet to be monetized, and more due diligence

leading to an increasingly accurate estimate of total Receivership Estate recoveries.

B.       Administration and Management

         The Receiver and his team continue to manage and marshal the Receivership Assets with

the goal of maximizing the recovery to the Receivership Estate consistent with concepts outlined

in the Initial Preservation Plan (Dkt. No. 54) (the “Preservation Plan”) 8 and the Prior Reports.

To fulfill his obligations to the Court, the Receiver has undertaken the following tasks during the

Applicable Period with respect to the various forms of property in the Receivership Estate.

         1.        Coordination and Conference with Other Parties

         Since being appointed in this case, the Receiver has coordinated extensively with the

SEC, U.S. Attorney’s Office Asset Forfeiture Unit, FBI, and U.S. Marshals Service regarding the

identification and safeguarding of Receivership Assets and the Receiver’s proposed disposition

of the Receivership Assets. As detailed in greater detail in Prior Reports, the Receiver has also

7
  The largest single asset of the Receivership Estate is the DeVille debt portfolio, and the
ultimate recovery on that asset will greatly influence the overall recovery to the Receivership
Estate. These preliminary estimates do not include any potential clawback or fraudulent transfer
claims that have not yet been authorized by the Court or investigated by the Receiver.
8
 A copy of the Initial Preservation Plan can be found on the Receiver’s website for this SEC
Action at: https://merrill-ledford.com/wp-content/uploads/2019/05/Initial-Preservation-Plan-
11.13.18.pdf.

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facilitated discussions with criminal counsel for Defendant Kevin B. Merrill (“Merrill”) and

Defendant Jay B. Ledford (“Ledford”), and counsel for Relief Defendant Amanda Merrill

(“Amanda Merrill”), to obtain their consent to the procedures and proposed disposition of the

real property and vehicles owned or purchased by Merrill and/or Amanda Merrill.

         As detailed in the Third Report, all three individual Defendants in this SEC Action

entered plea agreements in the criminal action styled U.S.A. v. Merrill, et al., Case No. 1:18-cr-

00465-RDB (the “Criminal Action”) during the Applicable Period. On August 1, 2019, the

Court entered a Judgment as to Defendant Cameron R. Jezierski (“Jezierski”) in this SEC Action.

See Dkt. No. 181. On August 9, 2019, counsel for Ledford filed a motion to withdraw as

Ledford’s attorney in this SEC Action. See Dkt. No. 187. On August 16, 2019, the Court

granted the motion and allowed Ledford’s counsel to withdraw from this SEC Action. See Dkt.

No. 192. On August 19, 2019, the Court entered a Judgment against Ledford in this SEC Action.

See Dkt. No. 196. On September 9, 2019, the Court entered a Judgment against Merrill in this

SEC Action. See Dkt. No. 211.

         2.        Businesses Operated in Texas

                   (a)     DeVille Asset Management Ltd.

                           (i)   Overview

         As outlined in the Prior Reports, DeVille’s operations include the collection of defaulted

account receivable portfolios acquired from consumer credit originators, such as credit card

issuers, auto loan finance companies, student loan providers, retailers, and other consumer

lenders. DeVille has an in-house debt collection center and a network of collection agencies and

attorneys who perform collections on DeVille’s behalf.

         As detailed in Prior Reports, Velocity was retained to evaluate and conduct a thorough

analysis of the DeVille Assets, including providing the Receiver with a fair market valuation of

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the DeVille Assets. Specifically, Velocity was engaged to determine whether the DeVille Assets

will be maximized if (i) DeVille is sold in its entirety as a going concern, (ii) DeVille’s assets are

sold, either piecemeal as individual sales of debt portfolios or a bulk sale of all debt portfolios to

a single buyer, or (iii) DeVille continues collection efforts of existing debt portfolios without any

sale of assets.

         During the Applicable Period, it was determined that Velocity could not complete the

scope of its retention without a full reconciliation of each of the approximately two million

remaining consumer debt accounts tracing each account from the original purchased balance to

the current balance in DeVille’s Debtmaster 9 database, which will involve the review and

identification of all payment, interest accrual, and balance adjustment transactions, whether the

transactions were performed by DeVille or third-party servicers engaged by DeVille. See Dkt.

No. 216. This reconciliation is required to both provide an accurate and audited current balance

for each account for purposes of overall portfolio valuation and to prepare for future buyer due

diligence when the portfolio is offered for sale.

         In preparation for this comprehensive reconciliation, DeVille has recalled and

transitioned the majority of accounts from third-party collection agencies to the DeVille in-house

collection group. With approximately two million active accounts under review, it was necessary

for the Receiver to engage an outside vendor to accomplish this task in a timely and efficient

manner, so the Receiver obtained Court approval to amend and expand the scope of Velocity’s

engagement to include the necessary reconciliation and due diligence confirmation. See Dkt. No.

217.




9
 Debtmaster is a debt collection software that provides integrated management of DeVille’s debt
portfolios, telephone systems, and client reporting to manage compliance and data security.

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         Velocity’s scope was also expanded to include additional management and regulatory

oversight with day-to-day management of DeVille in preparation for the marketing and sale of the

portfolio. Once the reconciliation is complete, Velocity will place selected accounts with new third-

party collection agencies and continue in a management role at DeVille and supervise the new third-

party collection agencies under the terms of the Master Servicing Agreement approved by the Court.

         The Receiver has confirmed with the industry broker the Receiver anticipates retaining,

upon receiving Court authorization, to sell the DeVille Assets that the scope and deliverables of

the expanded Velocity engagement aligns with the expected sales process. Based upon currently

available information, the Receiver anticipates seeking Court approval for the sale of the DeVille

Assets during the first quarter of 2020. Any potential sale process will be transparent and will be

open to all potential purchasers who are qualified and interested in purchasing assets.

                           (ii)   Recommended Disposition

         After Velocity completes its ongoing reconciliation process, the Receiver anticipates

petitioning the Court for permission to hire an experienced industry broker to offer the DeVille

Assets to the market (i) as a going concern with the portfolios and operations or (ii) piecemeal as

individual sales of debt portfolios to different buyers or a bulk sale of all debt portfolios to a

single buyer. With the latter option, the current platform for the collection business (without

portfolios) would also be offered to the market.

                   (b)     Riverwalk Debt Solutions, Inc. and Riverwalk Credit Solutions, Inc.

                           (i)    Overview

         Riverwalk Debt provides a fee-based service to assist borrowers by providing financial

solutions for student loans, with a focus on federal student loan consolidation and federal student

loan forgiveness programs. Riverwalk Credit provides a fee-based credit repair organization that

reviews and analyzes its clients’ credit profiles and then disputes/repairs inaccurate items. As


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outlined in the Prior Reports, Riverwalk Debt and Riverwalk Credit are both essentially

operating at a startup level.

         Throughout the Applicable Period, the Receiver team has worked closely with the

Director of Operations and other members of the Riverwalk management team to monitor

operating results and consider additional cost-savings measures, if available.

                           (ii)   Recommended Disposition

         As outlined in the Prior Reports, the Receiver intends to seek Court approval to market

and sell Riverwalk Debt and Riverwalk Credit in a competitive bidding process at a later date.

                   (c)     Ledford & Associates, PLLC

                           (i)    Overview

         Ledford & Associates, PLLC, an accounting firm in Amarillo, Texas, was closed on

September 18, 2018 after the unsealing of the SEC Action. As detailed in the Prior Reports, the

Receiver worked with a former CPA on staff to facilitate the return of approximately 200 client

files to those who had reached out to the Receiver either in response to the sign posted on the

firm’s front door or word of mouth in the local community. See Prior Reports, Dkt. No. 99 at 16.

During the Applicable Period, the remaining client files and business records of the firm were

moved from Amarillo, Texas to Dallas, Texas (where DeVille’s operations are located) under the

custody and control of the Receiver team.

                           (ii)   Recommended Disposition

         The Receiver will continue to store the business records, including unclaimed client files.

The physical and electronic records of Ledford & Associates are anticipated to have significant

ongoing value to the Receiver team as they examine the Receivership Parties and Receivership

Assets and related financial records maintained by Ledford & Associates.




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         3.        Real Property

                   (a)     Overview

         As described in Prior Reports, the Receivership Order granted the Receiver authority to

“take custody, control, and possession of All Receivership Assets,” including real property, and

ordered the Receiver to “manage, control, operate, and maintain the Receivership Estate and hold

in his possession, custody, and control all Receivership Assets.” Receivership Order, Dkt. No.

62 at ¶ 8. During the pendency of this case, the Receiver has undertaken the review and analysis

of various real estate holdings, including both residential and commercial properties located in

Maryland, Florida, Texas, and Nevada.       The Receiver has engaged Sotheby’s International

Realty, Inc. (“Sotheby’s”) to assist with the monetization of the majority of the real properties.

On April 23, 2019, the Court entered an Agreed Order on the Sotheby’s Motion (the “Agreed

Order”) with respect to certain real property owned or purchased by Merrill and/or Amanda

Merrill (the “Merrill Real Property”), which established the procedures for the sale of the Merrill

Real Property (the “Real Property Sales Procedures”). See Dkt. No. 137. 10

         Since entry of the Agreed Order, Sotheby’s has marketed the Merrill Real Property

resulting in the following property sales during the Applicable Period.




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   A copy of the Agreed Order can be found on the Receiver’s website for this SEC Action at:
https://merrill-ledford.com/wp-content/uploads/2019/05/2019-04-29-137-Agreed-Order.pdf.

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         As noted above, the Circle Road property was under contract with a purchase price of

$2,750,000.00, which had been approved for sale by the Court.             See Dkt. Nos. 153, 155.

However, a potential violation of a permitted variance during renovations that predated this SEC

Action was discovered and resulted in the buyer of the Circle Road property rescinding the offer

and terminating the purchase agreement. See Dkt. No. 224. The Receiver is in the process of

addressing the potential violation in order to relist the Circle Road property for sale.

         During the Applicable Period, the Receiver also sought and obtained Court approval to

retain Merlin Contracting and Development Limited Liability Corporation (“Merlin”) as the

general contractor for the completion of construction on the receivership property located at

9017 Grove Crest Lane, Las Vegas, Nevada. See Dkt. Nos. 203 & 204. The Court approval to

retain and compensate Merlin authorized and immediate payment of $363,783.92 for payment of

properly perfected mechanic’s liens for unpaid prior work as well as future estimated

expenditures of $598,920.70 to complete the renovations necessary to list and sell the property at

full market value. At the time this SEC Action was filed, construction on the Grove Crest

Property was underway but incomplete, with an estimated value of only $800,000.00.              After

spending the authorized amount to complete the renovation, the Receiver estimates a significant

increase in market value to between $2.5 and $3.0 million, depending upon market conditions at

the time of sale. All renovation activities are scheduled to be completed before December 31,

2019.

                   (b)     Recommended Disposition of Remaining Real Property

         The Receiver believes a sale of all real property is in the best interest of the Receivership

Estate, and the Receiver will continue to seek the appropriate consents to approve the retention

of brokers to market and sell, otherwise monetize, or abandon the following remaining real

property:

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              •    9017 Grove Crest Lane, Las Vegas, Nevada 89134;
              •    1132 Glade Road, Colleyville, Texas 76034;
              •    1650 Cedar Hill, Dallas, Texas 75208;
              •    2308 Cedar Elm Terrace, Westlake, Texas 76262; and
              •    2801 Paramount Boulevard, Amarillo, Texas 79109.

Although Ledford opposed the Sotheby’s Motion (Dkt. No. 107), the Receiver and Ledford

continue to pursue a consensual proposed resolution of the Sotheby’s Motion. In addition, the

Receiver sought and obtained Court approval to retain Coldwell Banker Commercial Amarillo to

market and, upon further order of the Court, sell the commercial real property owned by Ledford

that is located at 2801 Paramount Boulevard, Amarillo, TX 79109. See Dkt. Nos. 185 & 189.

         4.        Vehicles

                   (a)     Overview

         As itemized in Prior Reports, the Receivership Assets include many automobiles,

motorcycles, and a boat. During the Applicable Period, the Receiver sold the following vehicles:




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                   (b)     Recommended Disposition

         The Receiver will continue to store, maintain, market, and sell each of the remaining

Merrill Vehicles, as well as any other vehicles that might subsequently become property of the

Receivership Estate.

         The following Merrill vehicles have not yet been sold: :

              •    2018 Cadillac Escalade, VIN No. 1GYS4DKJOJR194076;
              •    2015 Harley Davidson, VIN No. 1HD1HHH18FC805081;
              •    2015 BMW S1000R (Motorcycle), VIN No. WB10D210XFZ352440;
              •    2015 Ferrari 458 Spider Especial, VIN No. ZFF78VHA7F0213197;
              •    2015 Porsche 918, VIN No. WP0CA2A13FS800561;
              •    2016 Mercedes Benz Sprinter 2500, VIN No. WDAPE8CDXGP323201;
              •    2014 Pagani Huayra Sedan, VIN No. ZA9H11RAYYSF76034;
              •    2018 Lamborghini Huran, VIN No. ZHWUS4ZF6JLA10746;
              •    2016 Ducati Superbike, VIN No. ZDM14B1W1GB001832; and
              •    2016 Ducati Scrambler, VIN No. ML015ANM3GT005628.

As noted above, the Receiver obtained the consent of Merrill and Amanda Merrill to the Prestige

Motion with respect to these vehicles.

         The Receivership Estate also includes the following Ledford vehicles:

              •    2015 Bentley Flying Spur, VIN No. SCBET9ZA7FC042592;
              •    2016 Ferrari 488 Coupe, VIN No. ZFF79ALA3G0217973;
              •    2018 Land Range Rover, VIN No. SALGS2RE6JA501496; and
              •    2016 Tesla Model, VIN No. 5YJSA1E49GF155262.

Although Ledford opposed the Prestige Motion (Dkt. No. 115), the Receiver and Ledford

continue to pursue a consensual proposed resolution of the Prestige Motion.

         5.        Other Property

         The Receiver, independently and through collaboration with the SEC, FBI, and U.S.

Attorney’s Office Asset Forfeiture Unit has identified other personal property as described in the

Prior Reports. This category of assets includes but is not limited to art, collectibles, jewelry, rare

wine, watches, luggage, and similar luxury items. To maximize recovery to the Receivership


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Estate, the Receiver has researched and identified various consignment and/or auction outlets for

monetizing the different classes of personal property at the appropriate time.

         During the Applicable Period, the Receiver and his counsel attended a mediation related

to the Receivership Estate’s position as lender in a litigation finance agreement whereby a

Receivership Party loaned $750,000 to a plaintiff in a pending lawsuit further described in Prior

Reports. The mediation was not successful and the plaintiff in the lawsuit (the Receivership

Estate’s borrower) is currently appealing the trial court’s decision to reduce the $20 million jury

verdict received in favor of the plaintiff to only $1.

         The Receiver continues to pursue additional potential Receivership Assets, including:

               •    at least one additional consumer debt portfolio;
               •    minority ownership interest in a commercial shopping center;
               •    a minority interest in a privately-held biosciences company;
               •    $200,000 promissory note in favor of a Receivership Entity;
               •    $150,000 cash deposit for the purchase of a Porsche;
               •    additional collectable comics;
               •    additional artwork;
               •    new furniture and furnishings not yet installed in real properties being renovated;
               •    John Deere tractor;
               •    probate estate distribution rights;
               •    a condemnation award related to one of the real properties;
               •    a minority interest in an Asian-based technology company;
               •    an oil and gas interest; and
               •    one or more cryptocurrency accounts.

         The Receiver and his counsel are also reviewing other potential Receivership Assets that

could result in additional recoveries.

         6.        Insurance

         As referenced above, as of the filing of this Report, each of the real properties and

vehicles owned by the Receivership Estate is adequately insured and additional insurance needs

continue to be evaluated.



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                                III.   ESTATE ADMINISTRATION

         The Receiver has continued making payments and disbursements and incurring expenses

as may be necessary or advisable in the ordinary course of business for discharging his duties as

Receiver. The financial report filed contemporaneously with this Report delineates activity

between the operating entities and the balance of the Receivership Estate providing a clearer

picture of the separate components of the Receivership Estate.

          IV.      UNRESOLVED CLAIMS AGAINST RECEIVERSHIP PROPERTY

         During the Applicable Period, the Receiver has received informal notice of some claims

against Receivership Assets. At this time, the Receiver continues to investigate those allegations

and review any and all evidence provided by such claimants in support of their allegations of

ownership of the Receivership Assets. It is anticipated that parties asserting claims against

Receivership Assets will receive notice and an opportunity to object during any potential sale

process that is approved by the Court.

         The Receiver has received numerous contacts from potential investor victims requesting

information. The Receiver has provided general status updates and directed such parties to

pleadings filed of record in the case, including the Receiver’s Preservation Plan and Prior

Reports.

                           V.   ACCRUED ADMINISTRATIVE EXPENSES

         During the Applicable Period, the Receivership Estate accrued administrative expenses

comprised of professional fees for the services of the Receiver’s team and counsel. On July 18,

2019, the Receiver and his counsel each filed fee applications for the period of January 1, 2019

through March 31, 2019 (Dkt. Nos. 159 and 160) (the “Third Fee Applications”).

         The total amount of accrued administrative expenses requested in the Third Fee

Applications total $405,380.62 for the Receiver and his team, and $288,614.74 for the Receiver’s

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counsel, Husch Blackwell. The Third Fee Applications were approved following the close of the

Applicable Period.

         The Third Fee Applications demonstrate that on a combined basis, the total fees and

expenses of the Receiver and his counsel continued to decline. For the first and second fee

application, the Receiver and his counsel incurred $12,319.97 per day and $9,103.45 per day,

respectively. For the Third Fee Applications, this total per day decreased to $7,797.70, which is

37% less than the first fee applications and 14% less than the second fee applications.

         As of September 30, 2019, the Receivership Estate had approximately $23.0 million of

cash on hand in Receivership Estate bank accounts under the sole control of the Receiver, and

the Receiver team estimates total recoveries from Receivership Assets could range between $40

million and $65 million. 11

         The Receiver anticipates the Receivership Estate will continue to accrue additional

administrative expenses going forward with the actual amounts fluctuating commensurate with

the activities required to properly administer the Receivership Estate.

                                     VI.     TAX MATTERS

         As indicated in Prior Reports, the Receiver has limited information about the filing status,

tax identification number, and other tax-related matters. With the information available, the

Receiver previously filed IRS Forms 56 (Notice Concerning Fiduciary Relationship) for twenty-

one (21) Receivership Entities for which the Receiver has sufficient information. The Receiver

has also filed IRS Forms 7004 (Application for Automatic Extension of Time to File Certain


11
  The largest single asset of the Receivership Estate is the DeVille debt portfolio. Consequently,
the Receiver believes the ultimate recovery on that asset will greatly influence the overall
recovery to the Receivership Estate. These preliminary estimates do not include any potential
clawback or fraudulent transfer claims that have not yet been authorized by the Court or
investigated by the Receiver.

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Business Income Tax, Information and Other Returns) and has requested copies of prior tax

returns from state and federal agencies for the Receivership Entities for which the Receiver has

sufficient information to complete such requests.

         During the Applicable Period, the Receiver sought and obtained approval to retain BDO,

USA, LLP (“BDO”) as tax accountant for the Receivership Estate to (i) advise the Receiver on

the tax liability of the Receivership Estate and the non-individual Receivership Parties, (ii)

prepare and file state and federal tax returns on behalf of the Receivership Estate and the non-

individual Receivership Parties, (iii) advise the Receiver on obtaining and maintaining the status

of a taxable “Settlement Fund” within the meaning of Section 468B of the Internal Revenue

Code for Receivership Funds, and (iv) advise the Receiver on other tax matters related to the

administration of the Receivership Estate. See Dkt. Nos. 198 & 201.

                           VII.   RECEIVER’S ONGOING INVESTIGATION

         The Receiver continues his investigation with the assistance of his counsel, Husch

Blackwell LLP. The Receiver will file supplemental reports to the Court for the duration of the

Receivership, as required by the Receivership Order.

            VIII. CLAIMS DETERMINATION AND DISTRIBUTION PROCESS

         As discussed in the Prior Reports, the Receiver was not previously authorized to take

steps to identify claimants on or creditors of Receivership Assets during the Applicable Period.

Shortly following the close of the Applicable Period, the Court authorized the Receiver to

identify creditors and claimants of the Receivership Estate and to formulate, in consultation with

the SEC, a proposed plan of initial distribution from the Receivership Estate. See Dkt. No. 222.




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                                    IX.    CONCLUSION

         Accordingly, the Receiver, Gregory S. Milligan, respectfully submits this Fourth

Quarterly Status Report for the Court’s consideration and, for the reasons stated in this Report,

recommends the continuation of this Receivership Estate.

                                            Respectfully submitted,

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                                            Counsel for Receiver Gregory S. Milligan




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                                 CERTIFICATE OF SERVICE

        On October 30, 2019, I electronically submitted the foregoing document with the clerk of
the court of the U.S. District Court for the District of Maryland, using the electronic case filing
system of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically through the Court’s CM/ECF filing system for all parties who have registered to
receive electronic service. Additionally, the foregoing document was served on the following
parties not registered for Court’s CM/ECF filing system as indicated below:

         Defendant Kevin B. Merrill (via U.S. Mail):

         Kevin B. Merrill
         Harford County Detention Center, #1335278
         1030 Rock Spring Rd.
         Bel Air, MD 21014

         Criminal Counsel for Defendant Kevin B. Merrill (via E-Mail and U.S. Mail):

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         Harry J Trainor , Jr
         Trainor Billman Bennett and Milko LLP
         116 Cathedral St Ste E
         Annapolis, MD 21401
         htrain@prodigy.net

         Criminal Counsel for Defendant Cameron R. Jezierski (via E-Mail and U.S. Mail):

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         Duane Morris LLP
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         Washington, DC 20004
         jjaronica@duanemorris.com



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         Criminal Counsel for Relief Defendant Amanda Merrill (via E-Mail and U.S. Mail):

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         Ian Herbert
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         iherbert@milchev.com

         Relief Defendant Lalaine Ledford (via U.S. Mail):

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         Las Vegas, NV 89144

         Counsel for Baltimore County, Maryland (via E-Mail and U.S. Mail):

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         sdubin@baltimorecountymd.gov

         Texas Comptroller of Public Accounts (via E-Mail and U.S. Mail):

         Loretta Hernandez
         Accounts Examiner
         Bankruptcy & Liens Section
         Revenue Accounting Division
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         Austin, Texas 78774-0100
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         Loretta.Hernandez@cpa.texas.gov

         Dundalk United Methodist Church (U.S. Mail):

         Dundalk United Methodist Church
         c/o Edward F. Mathus
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         Baltimore, Maryland 21222


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         Lienholders, Tax Assessors, and Other Interested Parties (U.S. Mail):

         Florida Community Bank, N.A.
         2325 Vanderbilt Beach Road
         Naples, Florida 34109

         Mortgage Electronic Registration Systems, Inc.
         PO Box 2026
         Flint, Michigan 48501-2026

         Collier County, Florida Tax Assessor
         3291 Tamiami Trail East
         Naples, Florida 34112

         Maryland Department of Assessments & Taxation
         301 W. Preston Street
         Baltimore, Maryland 21201-2395

         Branch Banking and Trust Company,
         A North Carolina Banking Corporation
         PO Box 1290
         Whiteville, North Carolina 28472

         Talbot County, Maryland Finance Office
         Talbot County Courthouse
         11 North Washington Street, Suite 9
         Easton, Maryland 21601

         HSBC Bank USA, National Association, as trustee of
         J.P. Morgan Alternative Loan Trust 2006-A5
         c/o Howard n. Bierman, Trustee
         c/o Select Portfolio Servicing, Inc.
         3815 Southwest Temple
         Salt Lake City, Utah 84115

         Clark County, Nevada Tax Assessor
         500 S. Grand Central Parkway
         Las Vegas, Nevada 89155

         First Financial Bank, N.A. Southlake
         3205 E. Hwy. 114
         PO Box 92840
         Southlake, Texas 76092




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         Hunter Kelsey of Texas, LLC
         4131 Spicewood Springs Road, Bldg. J-1A
         Austin, Texas 78759

         Frost Bank, f/k/a The Frost National Bank
         c/o Michael J. Quilling
         Quilling, Selander Lownds, Winslett & Moser, P.C.
         2001 Bryan Street, Suite 1800
         Dallas, Texas 75201

         The City of Colleyville, Texas
         c/o Victoria W. Thomas
         Nichols, Jackson, Dilard, Hager & Smith, L.L.P.
         1800 Lincoln Plaza
         500 North Akard
         Dallas, Texas 75201
         Tarrant County, Texas Tax Assessor
         100 E. Weatherford
         Fort Worth, Texas 76196

         J Trust
         c/o Hillary RE. Badrow, Trustee
         2801 Paramount Boulevard
         Amarillo, Texas 79109

         Dallas Central Appraisal District
         2949 N. Stemmons Freeway
         Dallas, Texas 75247-6195

         Bozeman West
         PO Box 1970
         15632 West Main Street
         Bozeman, Montana 59771-1970

         Neil A. Patel
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         Colleyville, Texas 76034

         TIB – The Independent BankersBank
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         San Antonio, Texas 78265-9548


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         Denton County Tax Assessor
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         Denton, Texas 76209-4525

         Potter County, Texas Tax Assessor
         900 South Polk, Suite 106
         Amarillo, Texas 79101

         Wells Fargo Home Mortgage
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         Albertelli Law
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         2201 W. Royal Lane, Suite 155
         Irving, TX 75063

         Samual I. White, P.C.
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                                             /s/ Lynn H. Butler
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